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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11

AMYRIS, INC., et al.,                                                Case No. 23-11131 (TMH)

                                  Debtors.1                          (Jointly Administered)

                                                                     Re Docket No. 467

             CERTIFICATE OF NO OBJECTION (NO ORDER REQUIRED)
         REGARDING FIRST MONTHLY APPLICATION OF KTBS LAW LLP FOR
         COMPENSATION AND REIMBURSEMENT OF EXPENSES, AS SPECIAL
           COUNSEL FOR THE DEBTORS ON BEHALF OF AND AT THE SOLE
          DIRECTION OF THE INDEPENDENT DIRECTOR, FOR THE PERIOD
                FROM AUGUST 11, 2023 THROUGH AUGUST 31, 2023

         The undersigned hereby certifies that:

         1.      On October 4, 2023, KTBS Law LLP (“KTBS”), special counsel for the Debtors

on behalf of and at the sole direction of the Independent Director, filed and served its First

Monthly Application of KTBS Law LLP for Compensation and Reimbursement of Expenses, as

special counsel for the Debtors on behalf of and at the sole direction of the Independent

Director, For the Period From August 11, 2023 Through August 31, 2023 [Docket No. 467] (the

“Application”).

         2.      Objections to the Application were to be filed and served no later than October

18, 2023 by 4:00 p.m. (prevailing Eastern Time). The undersigned has caused the Bankruptcy

Court’s docket in this case to be reviewed, and no answer, objection or other responsive

pleadings to the Application appears thereon. Additionally, no objections to the Application

have been received by the undersigned counsel.

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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
    Suite 100, Emeryville, CA 94608.




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        3.       Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Docket No. 279], the Debtor is authorized to pay

KTBS $159,512.00, which represents 80% of the fees ($199,390.00), and $143.80 which

represents the expenses requested in the Application, for the period from August 11, 2023

through August 31, 2023, upon the filing of this certificate of no objection and without the need

for entry of a Bankruptcy Court order approving the Application

Dated: October 19, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ James E. O’Neill
                                               Richard M. Pachulski (admitted pro hac vice)
                                               Debra I. Grassgreen (admitted pro hac vice)
                                               James E. O’Neill (DE Bar No. 4042)
                                               Jason H. Rosell (admitted pro hac vice)
                                               Steven W. Golden (DE Bar No. 6807)
                                               919 N. Market Street, 17th Floor
                                               P.O. Box 8705
                                               Wilmington, DE 19899-8705 (Courier 19801)
                                               Telephone: (302) 652-4100
                                               Facsimile: (302) 652-4400
                                               Email: rpachulski@pszjlaw.com
                                                       dgrassgreen@pszjlaw.com
                                                       joneill@pszjlaw.com
                                                       jrosell@pszjlaw.com
                                                       sgolden@pszjlaw.com

                                               Counsel to the Debtors and Debtors in Possession




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